Case 1:23-cv-23631-RNS Document 54 Entered on FLSD Docket 12/20/2023 Page 1 of 4




                                                                                                   12/14/2023
  Black- l-abel- sales(eBaystorefront)
  M ichele Powals
  M ichigan,USA
  m ichele.nowals@ icloud.com
  TeI:(586)422-5340
  Mlilkie D.Ferguson,1r.U.S.Courthouse
  400Nol  'th M iam iAvenue                                                        FILED BY                 D C,
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  C.Clyde AtkinsU.S Courthouse                                                        2EZ 22 2228
  301 North M iam iAvenue                                                               ANGELA E.NOBLE
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  Re:Case No.23-:v-23631


  DearClerkoftheCourt,

  Pleasesee below Ietteralso sentto RossanaBaeza,Esq.regardingthedismissalofmyhdbby business,astorefront
  called Black- Label
                    - sal
                        es,from theIawsuitby FOREO INC.


  Rossana Baeza,Esq.
  BOIESSCHILLER FLEXNER LLP
  100 SE2ndStreet,Suite2800
  M iam i,Florida33131
  TeI:(305)357-8415
  rbaeza@bsfllp.com
  Re:Case No.23-cv-23631


  DearRossana Baeza,Esq.:


  IhopethisIetterfindsyouwell.Iam writinginresponsetothenotificationIreceivedviaemailon12/4/2023thata
  patentinfringem entIaw suitw asfiled againstmyeBaystorefront,Black Label sales,W yourclientFOREO INC.
                                                                        -      -




  Firstly,lwould Iike to clarify thatmy eBay storefront,Black- l-abel- sales,has neverengaged in the sale or
  attempted saleofanyFOREO INC.products.Additionally,Ihave notofferedforFale,sold,orattemptedtosellany
  productsthatwouldinfringe upon FOREO lNC.'spatent.Iam com m itted to uphqldingintelledu'
                                                                                         alpropertyrights
  and Iive niylifein aIawfulandethicalmanner.

  M oreover,Iw anttoem phasizethatIam notaffiliated withanyChinesefactoriesoroperations,whichappeartobe
  theprim aw focusoftheIawsui t.Iam Iocated in M ichigan,USA. M ystorefrontactivitieshavebeenconfinedtoa
  small-scale,hobbyistoperaNon,mainlyinvolvingthesaleofunwanteditemsfrom my householdand items
                           Case 1:23-cv-23631-RNS Document 54 Entered on FLSD Docket 12/20/2023 Page 2 of 4

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                              kobtainedfrom garagesales.MytotalsalesforFI-D2023amountedtoamodest$690.92,withapayoutamountof
               ;
                                   even Iessthanthat.Gi
                                                      venthe lim ited scaleofmy hobby busïnessand thenatureoftheitem ssold,Ican assureyou
                                   therewasnointentionorefforttoinfringe upon any patentsorintellectualproperty rights.


                                   InIightofthesefacts,Iresp
                                                           'ectfullyrequestthatm yeBaystorefront, Black LabelSales,bedism issedfrom the
                                   patentinfringementcase.                         '

                '
                                   M ystorefrontdoesnotm eetthecri
                                                                 teriaforpatentinfringem ent,and Iam com m i
                                                                                                           ttedtocooperatingfull
                                                                                                                               yto
                                   ensureafairandjustresolutiontothismatter.lam opento providinganyadditionalinformation or
                                   docum entationthatm ayassistinclarifyingthesituation.lam confidentthatacloserexamination ofthefactswill
                                   revealtheabsenceofanywrongdoing onm ypart.
x.'- w - . . . ,. .. - - .. I ,.                                                                      '
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                                   Thankyou foryourattentiontothismatter.IIookforwardto aswiftresolutionthatupholdsthe principlesofjustice
                                   andfairness.                                              '


                                   IhavealsosentthisIettertotheClerkoftheCourt,United StatesDistrictCourtfortheSouthernDistrid ofFl
                                                                                                                                  orida.
                                   lfyouw ould Iiketo com m unicatewithm efurther,please reach outto meviaem ailat             .

                                   michele.nowals@ icloud.com.
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                                   Sincerely,                  .
                                            l



                                   M ichele Pow als




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